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                                                    January 17, 2018



BY ECF:

Honorable Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re: United States v. Percoco, et al., S2 16 Cr. 776 (VEC)

Dear Judge Caproni:

       We represent defendant Peter Galbraith Kelly, Jr in the above-referenced case and write
with regard to logistical considerations.

       We respectfully request an order granting defense counsel permission to bring into the
courthouse for use in the breakout room (Room 530A), from January 19, 2018 through the
duration of trial, the following: one trial cart, one set of wire shelving, multiple boxes of
documents, and standard office supplies. We will reach out to the District Executive’s office to
coordinate delivery on January 19, 2018.



                                                    Respectfully submitted,


                                              LANKLER SIFFERT & WOHL LLP

                                              By:       /s/ Daniel M. Gitner

                                              Daniel M. Gitner
                                              Rachel S. Berkowitz
CC:

All Counsel (Via ECF)
